Case 2:04-cr-20196-.]PI\/| Document 50 Filed 04/25/05 Page 1 of 3 Page|D 72

IN THE UNITED STATES DISTRICT cOURT F"" 56
FOR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 95 #`*‘»IDF?ZS P."i ,; gs

 

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MD.@FTN,MLMPHS

( 01/~;10) ?c,,)

Criminal No. Z"{ - z"’(?é- Ml

UNITED STATES OF AMERICA

Plaintiff,

(60-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
he continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the May 2005,
criminal rotation calendar, but is now RESET for report at §¢QQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005, rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 22nd day of April, 2005.

_ -ent entered on the docket heat in compliance
.,\a and/or 32(b) FRCrP on § ha 6 '0.5 _ @

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50 ORDERED this 22nd day of April, 2005.

JON P IPPS MCCALLA
D S'I'ATES DISTRICT JUDGE

 

 

Assistant United States Attorney

 

 

 

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g:;:§;;:i;§:;;;;;;ant{s)

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20196 Was distributed by faX, mail, or direct printing on
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chorable Jcn McCalla
US DISTRICT COURT

